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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_________________________________________

GEOFFREY DEAN BROWN;
                                                                    STIPULATION OF
                      Plaintiff,                                    DISMISSAL

       v.                                                           Civil Action Number:
                                                                    6:19-cv-278 (GTS/ATB)
SHEILA McBAIN, individually; SHEILA POOLE,
individually; CHRISTINE MOLINARI, individually;
DONNA MARKESSINIS, individually; STEVE
SCHAEFFER, individually and in his official capacity;
BRIAN KIRLEY, individually and in his official capacity;
MELANIE A. DEFAZIO, individually and in her official
capacity; ONEIDA COUNTY;

                  Defendants.
_________________________________________


       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, the

attorneys of record for PLAINTIFF GEOFFREY DEAN BROWN and DEFENDANTS

STEVE SCHAEFFER, BRIAN KIRLEY, MELANIE A. DEFAZIO and ONEIDA

COUNTY, pursuant to FRCP 41, that whereas no party hereto is an infant or incompetent person

for whom a committee has been appointed and no person not a party has an interest in the subject

matter of the action, the above entitled action be, and the same hereby is discontinued and

dismissed with prejudice, each party to bear its own costs, including but not limited to attorneys

fees. This stipulation may be filed without further notice with the Clerk of the Court.




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   Dated: October 12, 2021                        /s/ Zachary C. Oren
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   Dated: October ____,
                   13 2021                        ______________________________
                                                  Michael D. Callan, Esq.
                                                  Attorney for County Defendants
                                                  Federal Bar Roll Number 516276
                                                  Saunders, Kahler Law Firm
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                                                  Utica, New York 13501
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                                                  Fax: 315-724-8522
                                                  Email: mcallan@saunderskahler.com




IT IS SO ORDERED:



__________________________________________
Honorable Glenn T. Suddaby, U.S. District Judge
U.S. District Court N.D.N.Y.

Date:____________________________

  Dated: October 13, 2021

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